        Case 1:09-cv-00156-WLS Document 9 Filed 11/10/09 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF GEORGIA
                         ALBANBY DIVISION

CASSANDRA MARSHALL,             )
INDIVIDUALLY, AND APONDREA      )
MARSHALL, INDIVIDUALLY AND AS )
NEXT FRIEND OF CASSANDRA        )
MARSHALL,                       )
                                )                 CIVIL ACTION NO.
      Plaintiff,                )                 09-CV-156
                                )
v.                              )
                                )
JYOTIR MEHTA, M.D., LUNG        )
DIAGNOSTICS LLC, DEBORAH Z.     )
MCCARTHY, MARK N. BURNS, M.D., )
SOUTHWEST GEORGIA               )
PATHOLOGY, SOUTHERN             )
HEALTHCARE MANAGEMENT, INC., )
JOHN THOMAS DUELGE, M.D.,       )
PHOEBE CANDER CENTER,           )
PALMYRA PARK HOSPITAL, INC.,    )
d/b/a PALMYRA MEDICAL CENTER, )
PHOEBE PUTNEY MEMORIAL          )
HOSPITAL, INC. and AMERICAN RED )
CROSS, SOUTHEAST DIVISION,      )
                                )
      Defendants.               )

     NOTICE OF CONSENT ORDER DISMISSING PALMYRA PARK
          HOSPITAL d/b/a PALMYRA MEDICAL CENTER

      COMES NOW, Palmyra Park Hospital d/b/a Palmyra Medical Center and

shows this Court it was dismissed from the above-styled civil action by a Consent

Order signed by the Honorable Willie Lockette in the Court of Dougherty County
         Case 1:09-cv-00156-WLS Document 9 Filed 11/10/09 Page 2 of 4




Superior Court on October 23, 2009 (attached hereto as Exhibit “A”), the same day

the above-styled case was removed to this Court. Palmyra Park Hospital d/b/a

Palmyra Medical Center respectfully requests that it be removed from the style of

this case in future notices and pleadings.

      This 10th day of November, 2009.

                                             Respectfully submitted,

                                             s/ Cristina G. Azar


                                             KEVIN P. RACE
                                             Georgia Bar No. 591590
                                             CRISTINA G. AZAR
                                             Georgia Bar No. 443680

                                             Counsel for Palmyra Park Hospital,
                                             Inc., d/b/a Palmyra Medical Center

INSLEY & RACE, LLC
The Mayfair Royal
181 14th Street, NE, Suite 200
Atlanta, Georgia 30309
(404) 876-9818
(404) 876-9817 (fax)
         Case 1:09-cv-00156-WLS Document 9 Filed 11/10/09 Page 3 of 4




                          CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that I have this day served a copy of the within

and foregoing NOTICE OF CONSENT ORDER DISMISSING PALMYRA

PARK HOSPITAL d/b/a PALMYRA MEDICAL CENTER with the Clerk of

Court using the CM/ECF system which will automatically send e-mail notification

of such filing to the following attorney of record:

      Counsel for Plaintiff:
      T. MILLIS FLEMING
      200 East Saint Julian Street
      Savannah, Georgia 31401

      SCOTT S. LIBERMAN
      700 Southeast Third Avenue
      Courthouse Law Plaza, Suite 100
      Fort Lauderdale, FL 33316

      Counsel for Defendant Jyotir
      Mehta, M.D., Lung Diagnostics, LLC
      Walter Earl McCall
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      N. Burns, M.D., Southwest Georgia
      Pathology and Southern Healthcare
      Management, Inc
      Terrell W. Benton, III
      Jack G. Slover, Jr.
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        Case 1:09-cv-00156-WLS Document 9 Filed 11/10/09 Page 4 of 4




      Suite 900
      Atlanta, GA 30309-3479


      American Red Cross
      Scott P. Kerew
      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLP
      950 East Paces Ferry Road
      Suite 3000
      Atlanta, GA 30326

      This 10th day of November, 2009.

                                         Respectfully submitted,

                                         s/ Cristina G. Azar

                                         KEVIN P. RACE
                                         Georgia Bar No. 591590
                                         CRISTINA G. AZAR
                                         Georgia Bar No. 443680

                                         Counsel for Palmyra Park Hospital,
                                         Inc., d/b/a Palmyra Medical Center
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